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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

KAREN S. ROWLAND,

       Plaintiff,

v.                                                   Civil Action No. 3:23-cv-00258-MHL

TRANSWORLD SYSTEMS, INC., et al.,

       Defendants.


         NATIONAL COLLEGIATE STUDENT LOAN TRUST DEFENDANTS’
                         MOTION TO DISMISS

       Defendants National Collegiate Student Loan Trust 2006-4 and National Collegiate

Student Loan Trust 2007-4 (collectively, the “Trusts”), by counsel and pursuant to Federal Rule

of Civil Procedure 12(b)(6), respectfully move this Court to dismiss Plaintiff’s Amended Class

Action Complaint [Dkt. No. 10] with prejudice. The reasons for this Motion are set forth in the

memorandum contemporaneously filed herewith.

       WHEREFORE, the Trusts respectfully request that the Court enter an order: (1) granting

the Trusts’ Motion to Dismiss; (2) dismissing Plaintiff’s claims with prejudice for failure to state

a claim for relief under Fed. R. Civ. P. 12(b)(6); and (3) granting such further relief as the Court

deems appropriate.
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Dated: September 8, 2023           NATIONAL COLLEGIATE STUDENT LOAN
                                   TRUST 2006-4 AND NATIONAL
                                   COLLEGIATE STUDENT LOAN TRUST
                                   2007-4

                                   By: /s/ Timothy J. St. George
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                                   2007-4
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 8th day of September 2023, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF System which will then send a notification of

such filing (NEF) to all counsel of record.


                                              /s/ Timothy J. St. George
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